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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     SYNCHRONOSS TECHNOLOGIES, INC.,                    Case No. 4:16-cv-00119-HSG (KAW)
                                   8                     Plaintiff,                         ORDER REGARDING 2/11/19 JOINT
                                                                                            LETTER
                                   9              v.
                                                                                            Re: Dkt. No. 271
                                  10     DROPBOX INC., et al.,
                                  11                     Defendants.

                                  12
Northern District of California
 United States District Court




                                  13           On February 11, 2019, the parties filed a joint discovery letter concerning Dropbox’s

                                  14   request for an order requiring Synchronoss to make expert Christopher Alpaugh available for two

                                  15   days of deposition. (Joint Letter, Dkt. No. 271 at 1.) Mr. Alpaugh’s deposition is noticed for

                                  16   March 18, 2019. Id. Synchronoss has produced two expert reports authored by Mr. Alpaugh—on

                                  17   infringement and damages, and validity— while Dropbox has designated two different experts on

                                  18   those topics. Id. As a result, Dropbox contends that it needs a total of fourteen hours to adequately

                                  19   depose Mr. Alpaugh. (Joint Letter at 2.)

                                  20           In opposition, Synchronoss argues that the request is premature, and that the first seven

                                  21   hours should go forward after which the parties shall meet and confer regarding what additional

                                  22   time, if any, is necessary. (Joint Letter at 5.)

                                  23           The Court disagrees. This is not a situation where Mr. Alpaugh is expected to testify on a

                                  24   single report, and Dropbox may require more time, based on the substance of his testimony.

                                  25   Rather, Dropbox knows that it requires more time, because Mr. Alpaugh is the designated expert

                                  26   on multiple topics. While Synchronoss may designate the expert of its choice, it cannot

                                  27   strategically do so in an effort to stifle Dropbox’s ability to properly depose an expert witness.

                                  28   Indeed, Dropbox should be able to adequately prepare for the depositions in advance.
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                                   1          Accordingly, the Court orders Synchronoss to produce Mr. Alpaugh for two, seven-hour

                                   2   days. Each day will address a different expert report.

                                   3          IT IS SO ORDERED.

                                   4   Dated: February 28, 2019
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                                   5                                                         KANDIS A. WESTMORE
                                   6                                                         United States Magistrate Judge

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Northern District of California
 United States District Court




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